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  8                        UNITED STATES DISTRICT COURT
  9                     SOUTHERN DISTRICT OF CALIFORNIA
 10    IN RE: INCRETIN MIMETICS                          MDL Case No. 13md2452 AJB
       PRODUCTS LIABILITY LITIGATION,                    (MDD)
 11
                                                         Pertains To Civil Action No.:
 12   MIRANDA HAWKINS,                                   __3:14-cv-02296-AJB-MDD
 13   INDIVIDUALLY AND AS
      SUCCESSOR-IN-INTEREST OF THE
 14                                                      ORDER GRANTING JOINT
      ESTATE OF WAYNE HAWKINS,                           STIPULATION OF
 15   DECEASED                                           VOLUNTARY DISMISSAL
                 Plaintiff
 16                                                      (Doc. No. 5248)
            v.
 17
       MERCK SHARP & DOHME CORP.,
 18
                      Defendants
 19

 20         In consideration of the parties’ joint stipulation, IT IS HEREBY ORDERED
 21   THAT;
 22
            1.    The above-entitled action be and hereby is dismissed with prejudice
 23
                  pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure.
 24
            2.    Each party will bear its own attorneys’ fees and costs.
 25
      ///
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      ///
 27

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                                ORDER GRANTING STIPULATION OF DISMISSAL
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  1     3. Each party waives the right to any appeal.
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      IT IS SO ORDERED.
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      Dated: October 13, 2021
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                                ORDER GRANTING STIPULATION OF DISMISSAL
